              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 1 of 27

                                                               Honorable Thomas S. Zilly




                              UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  VENICE PI, LLC,                              Civil Action No. 17-cv-988TSZ
                           Plaintiff,
              v.
  SEAN O’LEARY JR., et al.
                           Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-990TSZ
                           Plaintiff,
              v.
  JONATHAN DUTCZAK, et al.
                           Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-991TSZ
                           Plaintiff,
              v.
  MARTIN RAWLS, et al.
                           Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-1074TSZ
                           Plaintiff,
              v.
  INA SICOTORSCHI, et al.
                           Defendants.




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - i
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 2 of 27




  VENICE PI, LLC,                              Civil Action No. 17-cv-1075TSZ
                         Plaintiff,
              v.
  GREGORY SCOTT, et al.
                         Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-1076TSZ
                         Plaintiff,
              v.
  YELENA TKACHENKO, et al.
                         Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-1160TSZ
                         Plaintiff,
              v.
  CELINA POTTER, et al.
                         Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-1163TSZ
                         Plaintiff,
              v.
  TONJA LAIBLE, et al.
                         Defendants.

  VENICE PI, LLC,                              Civil Action No. 17-cv-1164TSZ
                         Plaintiff,
              v.
  VICTOR TADURAN, et al.
                         Defendants.




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - ii
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 3 of 27




  VENICE PI, LLC,                                       Civil Action No. 17-cv-1211TSZ
                           Plaintiff,
              v.
  JESSE COOPER, et al.
                           Defendants.

  VENICE PI, LLC,                                       Civil Action No. 17-cv-1219TSZ
                           Plaintiff,
              v.
  JASMINE PATTERSON, et al.
                           Defendants.

  VENICE PI, LLC,                                       Civil Action No. 17-cv-1403TSZ
                           Plaintiff,
              v.
  DAVID MEINERT, et al.
                           Defendants.

           Plaintiff respectfully submits this response to the Court’s Minute Order of January 8, 2018

(Dkt. 32).




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - iii
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 4 of 27




                                                    TABLE OF CONTENTS
A.         INFRINGEMENT IS PURSUED PROFESSIONALLY, WITHOUT
           ABUSE ............................................................................................................................... 1
           1.           Plaintiff’s enforcement cannot be equated with prior bad
                        actors ....................................................................................................................... 2
           2.           Plaintiff has Strictly Adhered to the Court’s Ordered
                        Procedure on Discovery, but Needs Early Discovery to
                        Name Defendants with Specificity ......................................................................... 4
           3.           The Court’s Order Forbidding Any Communication with
                        Defendants Should be Rescinded............................................................................ 5
           4.           Settlement Discussions are Appropriate, and the
                        Settlements are Fair................................................................................................. 6
B.         THE ENTITY STATUS IS ACCURATELY STATED, AND THE
           COMPLAINTS STATE A CLAIM .................................................................................... 8
           1.           Entity Status of Plaintiff and Compliance with LR 7.1(a) ...................................... 8
           2.           Plaintiff States a Cognizable Claim that Should Not be
                        Dismissed ................................................................................................................ 9
C.         THE COURT’S OTHER CONCERNS ARE BASED ON
           INACCURACIES AND UNSUPPORTED ASSERTIONS ............................................ 11
           1.           No Ethical Issues are Implicated by Plaintiff’s
                        Investigations; Plaintiff’s Data Providers are Not Subject to
                        the Licensing Requirements of RCW 18.165, and
                        Committed no Crime............................................................................................. 12
           2.           Plaintiff’s Investigators are Not “aliases or even fictitious” ................................. 17
           3.           Technology Used in BitTorrent Copyright cases is Reliable
                        and verified by Experts and Other Courts............................................................. 18
           4.           MEU’S Technology Does Not Yield False Positives nor
                        Does It Employ Hacking or Spoofing of the IP Addresses .................................. 20




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - iv
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 5 of 27




           This is the second order issued by the Court requesting an offer of proof from Plaintiff in these

cases. Plaintiff and its undersigned counsel take the Court’s concerns seriously and wish to address each

area of concern to the best of their ability. As a preliminary matter, Plaintiff appreciates that the source

of concern for these cases generally may originate from plaintiffs or law firms who have broken ethical

or procedural rules in the enforcement of copyright interests in previous cases of this general nature, and

that there are defense-group websites advancing an array of assertions about various aspects of such

enforcement generally. To that end, Plaintiff and its counsel welcome the opportunity to demonstrate that

their practices comply with all applicable laws, the Civil Rules, and the Rules of Professional Conduct.

Plaintiff respectfully submits that all assertions to the contrary find no support in the evidence or law.

They are, at best, mistaken, and at worst are false and motivated by a fundamental disagreement over

whether copyright law should continue to prohibit and punish infringers such as those identified in this

case. Plaintiff invested considerable time and provided extensive testimony and evidence in response to

the Court’s earlier November 3, 2017 Minute Order (Dkt. #27) in its December 1, 2017 response.

(Dkt. 28) In response to the Court’s specific questions, Plaintiff submitted reports from three separate

experts demonstrating that (1) the IP addresses cannot be spoofed or faked; (2) the content in question is

enough to constitute copyright infringement and is playable; and (3) each Defendant is identified in a

manner consistent with the controlling authority and Federal Rules of Civil Procedure, such that the

complaint not only states a claim that is plausible, but rather one that is highly probable. (Id. & Dkt. 29,

29-1) Plaintiff also submitted a declaration of Michael Wickstrom, a Senior Vice President personally

responsible for the copyright enforcement efforts of Plaintiff and its related companies, documenting the

ongoing and substantial hardship being caused to the industry by the rampant infringement occurring in

this and other districts. (Dkt. 30) In this submission, Plaintiff will address the additional concerns raised

by the Court.

A.         INFRINGEMENT IS PURSUED PROFESSIONALLY, WITHOUT ABUSE

           The Court has expressed concern for the potential for abuse in cyber-piracy enforcement

efforts. (See, e.g., Dkt. #27 ¶¶ 2 n.1 and 3 and Cobbler Nevada, LLC v. Kevin James, Case



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 1
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 6 of 27




No. C15-1430TSZ, Dkt. #78) Plaintiff respectfully submits that there is no abuse here, and that its pursuit

of infringers has been diligent, respectful, and in accordance with applicable laws and rules.

           1.           Plaintiff’s enforcement cannot be equated with prior bad actors

           The current enforcement efforts in this jurisdiction are distinct from prior BitTorrent efforts in

this and other jurisdictions. Many prior BitTorrent cases were brought by small media companies in the

adult film industry, such as by the Prenda Law firm or Malibu Media. Prenda is now a defunct firm

whose principals were placed under federal indictment in December 2016 for “an elaborate scheme to

fraudulently obtain millions of dollars in copyright lawsuit settlements by deceiving state and federal

courts throughout the country.” Indictment, United States v. Hansmeier, No. 0:16-cr-00334 (D. Minn.

Dec 14, 2016) Prenda was found to have lied to the court, forged documents, practiced identity theft and

to have even “seeded” their clients’ movies on BitTorrent Networks, which made them available for

download in the first place. See id.; Ingenuity 13 LLC v. Doe, No. 2:12-cv-8333-ODW (JCx), 2013 WL

1898633, at *2-3, *5 (C.D. Cal. May 6, 2013). Plaintiff shares any concern the Court may have with this

sort of enforcement; however, it would be unfair and inaccurate to assume that all BitTorrent-based

copyright enforcement is conducted in such an unfair or unethical manner.

           Malibu Media apparently uses similar forensic technology to identify BitTorrent infringers, albeit

obtained from different data providers and licensees than Plaintiff uses in these cases. The focus of

Malibu Media is on adult titles. Some courts have expressed concern that the adult subject matter in

such cases may lead to coercion of defendants—that is, “there is a fear that regardless of a

defendant’s actual culpability, he may feel compelled to settle the lawsuit confidentially in order

to avoid the embarrassment of being named as a defendant in a case . . . .” Malibu Media, LLC

v. Doe, 285 F.R.D. 273, 278 (S.D.N.Y. 2012) (dealing with pornographic content). However, this

concern is more prevalent in cases involving allegations of infringement on pornographic content.

Such concerns are not as prevalent where, as in these cases, Plaintiff is associated with a major

movie studio—in this case Voltage Pictures—whose titles are mainstream films featuring




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 2
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 7 of 27




well-known actors and director, such as Once Upon a Time in Venice, A Family Man, The Cobbler

and Dallas Buyers Club. That said, Plaintiff’s practice in these and other similar cases is to avoid

behaviors that seek to threaten, embarrass, or otherwise coerce defendants into settling. In this

sense, the association of defendants with the activity complained of here is no different than in a

typical case for infringement of a copyright, such as, for example, the many thousands of cases

brought by the recording industry’s anti-piracy cases seeking enforcement of music copyrights or

the computer-software industry’s anti-piracy cases seeking enforcement of copyrights in computer

software. See cases infra.

           Contrary to the enforcement efforts identified above, for example in the pornographic film area,

BitTorrent enforcement efforts in this jurisdiction have, since initiated by Plaintiff’s counsel’s firm in

July 2014, been undertaken with good faith diligence, transparency and every effort at strict adherence

with the law and applicable court rules. Indeed, as explained by motion picture executives such as Mr.

Wickstrom, (Dkt. 30), the motivation of such enforcement efforts is to educate, deter future wrongdoing,

and seek compensation from responsible parties. In other words, such enforcement efforts are designed

to right a private wrong by obtaining compensation for the devaluation of copyrighted works wrought

by piracy and perform a public good by upholding and enforcing the copyright law as it currently exists—

which is precisely the purpose of the legal system.

           The legal fight against BitTorrent piracy is not being waged by the movie industry alone, or

solely by the present Plaintiff. Likewise, the naming of John Doe defendants together with requests for

discovery to determine actual identities is a long-established procedure that is approved by the courts and

used by many other companies and entities such as Microsoft with respect to software (e.g., Microsoft

Corp. v. Doe, No. C17-1587RSM, 2017 U.S. Dist. LEXIS 181205 (W.D. Wash. Nov. 1, 2017)),

Yahoo! regarding trademark and false advertising (Yahoo!, Inc. v. Doe, No. 16-cv-02879-LHK

(HRL), 2016 U.S. Dist. LEXIS 78143 (N.D. Cal. June 15, 2016)), John Wiley & Sons with respect

to books (John Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185 (S.D.N.Y. 2012)), and Arista Records with

respect to music (Arista Records Ltd. Liab. Co. v. Doe, 604 F.3d 110 (2d Cir. 2010)). In the foregoing



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 3
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 8 of 27




cases, as with these, the initial inquiry leads to IP addresses that were used to misappropriate copyrighted

content. Initial discovery then identifies an account holder for the IP address, and subsequent discovery

confirms the account holder is the infringer or (on rare occasions) leads to an additional or different

defendant who may be named.

           Plaintiff here does not merely follow the procedural path used by the exemplary parties identified

above in the software, music and book publishing industries. Plaintiff also rigorously verifies the fact that

piracy has occurred, seeks confirmation that it is associated with a particular defendant, and directs its

enforcement against the worst offenders—typically those who have pirated numerous titles over a period

of time. Only after a thorough investigation to address the same issues raised in the Court’s Minute Order

does Plaintiff proceeds with the filing of a complaint.

           2.           Plaintiff has Strictly Adhered to the Court’s Ordered Procedure on Discovery,
                        but Needs Early Discovery to Name Defendants with Specificity

           The most difficult issue in cases such as these is the specific naming of the party Defendant.

Defendants use BitTorrent technology as part of an intentional effort to steal movies anonymously, hiding

behind their computer interfaces. Plaintiff cannot name defendants specifically at the time of filing the

complaint, and has always sought to do so only after discovery or other investigation would allow it to

name the correct party, and always in accordance with the law and applicable rules. In earlier similarly
situated cases, plaintiffs sought leave to conduct early depositions or other discovery calculated to
enable defendants to be named with even greater certainty. The Court, however, denied leave for

such discovery while allowing the possibility of amending the pleadings to name different

defendants if appropriate. For example, by Order dated January 26, 2016, the Court denied the

Rule 45 leave motion and instructed the plaintiff as follows:

           Plaintiff has the names of the holders of each IP address that allegedly infringed its
           film, and can proceed by naming those parties as defendants and conducting
           discovery in the normal course prescribed by the Federal Rules. See, e.g., Hard
           Drive Prods., Inc. v. Doe, 2012 WL 90412, *2-3 (E.D. Cal. Jan. 11, 2012) (denying
           request to depose identified IP address holders). To the extent subsequent case




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 4
INIP-6-0088P18 RESPSC
              Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 9 of 27




           developments show that the IP holders are not the infringing parties, plaintiff may
           seek to amend the Complaint as necessary.

Cobbler v. James, Case No. 15-cv-1430TSZ (Dkt. 16); see also Dallas Buyers Club v. Does, Case

No. 15-cv-134RAJ (and others) (Dkt. 48). Accordingly, Plaintiff has proceeded in accordance with

such orders, and respectfully submits that proceeding in this fashion is proper and in accordance

with the applicable laws and Civil Rules. Indeed, Plaintiff wants nothing more than to name and

pursue the actual infringer, and to follow the Civil Rules and guidance of the Court in doing so.

           As stated in Plaintiff’s prior response, (see Dkt. 28, p. 10), when allowed to proceed with

formal discovery after naming, such as in Cobbler v. James, Case No. 15-cv-1430TSZ, plaintiffs seek
reasonable discovery to confirm infringement. This sort of additional discovery, when permitted, could

further confirm the identity of the proper defendant and is no different than in any other case in which

the Plaintiff is in possession of more than enough facts to make a claim plausible, but needs some

discovery to fully prove its case.

           In summary, Plaintiff submits that its actions (and those of undersigned counsel) in pursuit of

rampant copyright infringement have been appropriate at all times.

           3.           The Court’s Order Forbidding Any Communication with Defendants Should be
                        Rescinded

           The Court’s November 3, 2017 Minute Order forbade Plaintiff’s counsel from “[any]

communica[tions] with any unrepresented defendant in any manner for any purpose.” (Dkt. 27 p. 4) The

undersigned counsel has not engaged in any discovery in advance of a Rule 26(f) conference, and has

complied with the Federal Rules of Civil Procedure. Although (prior to the above order) counsel has

communicated with defendants informally, and has sought information through such communications,

correspondence of this sort occurs in every civil action and is not precluded by the proscription of

Rule 26(d). As the Central District of California recently explained, informal investigations do not fall

within the scope of formal discovery regulated by Rule 26. In re BofI Holding, Inc. Sec. Litig., 318 F.R.D.

129 (S.D. Cal. 2016). Indeed, in the Advisory Committee Note to Rule 26(d), the Committee expressly

stated that “[t]his subdivision is revised to provide that formal discovery—as distinguished from


PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 5
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 10 of 27




interviews of potential witnesses and other informal discovery—not commence until the parties have met

and conferred as required by subdivision (f).” For this reason, the In re BofI Holding court stated that it

was aware of “no authority indicating that the Court has the power to issue protective orders prohibiting

informal investigations conducted before discovery has commenced.” In re BofI Holding, 318 F.R.D.

at 133. Plaintiff submits that the notice letters of the sort cited above (or subsequent emails or phone

conversations, which are typically initiated by the defendants in response to such letters) do not constitute

discovery under Rule 26. Moreover, the letters sent by Plaintiff or its counsel here are respectful,

professional, and courteous. Many defendants also respond to the fact of being named and served with a

complaint by reaching out to Plaintiff’s counsel in an effort to resolve the dispute or to discuss it, and

presently (in accordance with the above order) counsel must refuse to take any phone calls, and cannot

return any calls or emails. Plaintiff contends that it should be allowed to communicate with Defendants.

           4.           Settlement Discussions are Appropriate, and the Settlements are Fair

           Likewise, settlement discussions are permissible and appropriate. Parties routinely engage in

discussions about the merits of cases and possibilities of settlement before the filing of the action

and before a Rule 26(f) conference. Such discussions allow both sides to better understand the

merits of the positions and often lead to settlement. As the Central District of Illinois stated:

           One person’s cottage industry in harassing lawsuits is another person’s
           vigilant defense of property rights. … The proliferation of these types of lawsuits
           would be expected given the alleged infringement by thousands of people. The
           volume of lawsuits alone does not indicate any impropriety. The fact that [Plaintiff],
           and others, may settle these suits quickly also does not indicate any wrongdoing.
           Settlement of civil disputes is generally a positive outcome, not a negative one.

Patrick Collins, Inc. v. John Does 1-9, 2012 WL 4321718 at *5 (C.D. Ill. Sept. 18, 2012) (emphasis

added). It is also well established that private parties may settle their controversies at any time.
United States v. Trans-Missouri Freight Ass’n, 166 U.S. 290, 309 (1897), cited with approval in

Dallas Buyers Club v. Does, Case Nos. 15-cv-134RAJ (and others) (Dkt. 48, p. 4). If there can be




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 6
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 11 of 27




no settlement discussions, then the parties and the Court will expend far more time and resources

in the effort to resolve these actions.

           Although communications, informal discovery, and settlement efforts should all be

permissible, Plaintiff submits that it has complied with the Venice order cited above not to

communicate with any unrepresented individual. At the same time, Plaintiff respectfully submits

that the order is not founded in the Federal Rules and is contrary to the objectives of a speedy and

efficient resolution of disputes. As such, Plaintiff has requested that the order be revised and that

the prohibition be removed. (See, e.g., Dkt. 27 p. 4)

           In addition, Plaintiff has settled its disputes with the defendants in these enforcement

actions in a manner that is fair and cannot be considered coercive, extortionist, or otherwise beyond

the law. On this issue, Plaintiff submits three main points. First, in the course of settling disputes,

and as a condition of such settlement, Defendants acknowledge and take responsibility for the

accused piracy. Plaintiff is not aware of any instance in which any settlement was entered into in

which the copyright infringement did not actually occur, and would never knowingly do so.

Second, the settlements are fair as to the amount. On average, the settlements are on par with the

amount granted by the Court when entering default judgments. There are no improprieties and at

all times the practices are intended to be fair and equitable under the circumstances while enforcing

Plaintiff’s rights under the law. Third, as confirmed by Plaintiff’s representative in the motion

picture industry, these anti-piracy efforts are absolutely not a revenue model. To the contrary, as

explained by Mr. Wickstrom, they are part of a critical effort necessary to meet distributor

obligations and ensure the continued viability of the industry:

           Often a title is provided to a distributor with minimum guarantees. But when the
           title is pirated, many distributors respond with a demand for reduction in the
           minimum guarantee, or some other assurance that Venice PI, LLC is fighting the
           piracy, such as the transmission of DMCA notices to Internet Service Providers
           and, when necessary, commencement of litigation against infringers. Simply put,
           to support our distributors and our agreements with them, we must fight piracy and
           we must be proactive.



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 7
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 12 of 27




           Neither Venice PI, LLC nor Voltage Pictures seek to use the Court system to profit
           from infringement. Revenues from our licensing and distribution agreements are
           the dominant driver of Voltage's revenues. As such, our anti-piracy efforts are not
           a revenue model. The main goal of our anti-piracy effort is to provide education
           about the harmful effects of piracy in the movie industry and to deter copyright
           infringers. Indeed, we currently send out hundreds of thousands of DMCA notices
           to infringers before filing suit and prefer to stop piracy outside of litigation.

           ...

           We want the courts to know that we need the law to be enforced to ensure the
           survival of our business. It is our hope that by upholding the law, courts will
           allow all creative people the ability to make a living through the authorized
           distribution of the works through legitimate channels. To support the creative
           team, we implemented the policy that any net compensation received from our anti-
           piracy program flows into the royalty ‘waterfall’ and gets distributed to those who
           worked on the motion picture. This often includes technicians, general services,
           actors, directors and others in the same manner as ticket sales or other systems.

(Dkt. 88, ¶¶ 12-17, emphasis added)

B.         THE ENTITY STATUS IS ACCURATELY STATED, AND THE COMPLAINTS
           STATE A CLAIM

           The Court’s latest sue sponte Minute Order of January 8, 2018 (Dkt. 32) raised questions about

Plaintiff’s parent entities, concluding that they appear not to exist. As set forth below, Plaintiff’s

submissions on this point have always been accurate. The Court also questioned whether the complaint

states a claim for relief, and this is addressed below as well.

           1.           Entity Status of Plaintiff and Compliance with LR 7.1(a)

           In response to the Court’s show cause order on points (a) and (b), (Dkt. 32 ¶ 5), Plaintiff states

that it is an active, properly formed California limited liability company. (Wickstrom Dec. ¶ 5 & Ex. A)

Plaintiff is owned and managed by Lost Dog Productions, LLC, a Nevada limited liability company.

(Id. & Ex. B) Lost Dog Productions, LLC is in turn owned by Voltage Productions, LLC, a Nevada

limited liability company. (Id. & Ex. C) Voltage Pictures, LLC, an affiliated entity, is a California limited

liability company. (Id. & Ex. D)




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 8
INIP-6-0088P18 RESPSC
               Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 13 of 27




           Accordingly, Plaintiff is a properly formed limited liability company, owned and managed by a

Nevada limited liability company. Because Plaintiff’s Local Civil Rule 7.1(a) corporate disclosure

document (see, e.g., C17-988 Dkt. 4) correctly disclosed these facts, Plaintiff did not fail to comply with

the rule and there are no grounds for any further action by the Court.

           2.           Plaintiff States a Cognizable Claim that Should Not be Dismissed

           The Court sue sponte asked Plaintiff to demonstrate that it has stated a claim under Rule

12(b)(6). Plaintiff respectfully responds to the Court’s show cause order on point (c), (Dkt. 32 ¶ 5),

below.

           In these cases, Plaintiff has been permitted to obtain account holder information but not allowed

to conduct further discovery prior to being required to identify defendants by name. Nonetheless,

Defendants are named with greater certainty than merely the fact that they are the account holder, and

with facts that more than make the allegation of infringement by the named defendant plausible. Thus,

at this stage, Plaintiff established (and has alleged) that copyright infringement of Plaintiff’s motion

picture occurred at the specific IP address assigned to the named Defendant at a specific date and

time (Dkt. 11 at ¶ 10, ¶¶ 18-23). In addition, the infringement was not a single isolated event, but

rather an instance of significant BitTorrent activity in which Defendant’s IP address participated

during the relevant period (Id. at ¶ 12; see also Dkt. 29, ¶¶ 38-41 & Ex. D). Given the amount of

activity (that is, as noted above, Defendants are repeat offenders), there is a high probability that

the account holder is directly involved and aware of the activity. The materials shared and

downloaded would not be of interest to a child, thereby suggesting an adult at the residence (Id.),

and the physical location and layout of Defendant’s residence makes it unlikely that his IP address

was hijacked by a neighbor or passerby (Id. at ¶ 14).1




           1
           See also the expert report of Dr. G. Mitchell of Future Focus, Inc. prepared specifically for Cobbler
v. James, Case No. 15-cv-1430TSZ to address the WiFi questions raised by the Court in that case.



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 9
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 14 of 27




           The above allegations, tied to the background investigation, satisfy the requirements to

state a claim for relief. A complaint fails to state a claim upon which relief may be granted if the

plaintiff fails to allege the “grounds” of his “entitlement to relief.” Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007). A plaintiff must plead “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). A court should only dismiss a complaint for failure to state a claim if,

taking all factual allegations as true, it does not contain “enough facts to state a claim to relief that

is plausible on its face.” Id. at 662; see also Coto Settlement v. Eisenberg, 593 F.3d 1031, 1034

(9th Cir. 2010). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Caviness v. Horizon Cmty. Learning Ctr., Inc., 590 F.3d 806, 812 (9th Cir. 2010). This standard

is not, however, akin to a “probability requirement.” Rather, it only asks for “more than a sheer

possibility that a defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. In the present case, the

fact of infringement is not only plausible, it is highly probable.

           Accordingly, Plaintiff has pled “facts tending to exclude the possibility that [an] alternative

explanation is true,” as has been required by this Court. These factual assertions are more than

“formulaic recitation of the elements” or “bare legal conclusion,” and specifically allege that

Defendant copied Plaintiff’s work. They provide fair notice of the infringed copyright and how

the unauthorized copying occurred. Plaintiff’s infringement claim is “plausible on its face,” and

readily pass the Twombly/Iqbal standard for notice pleading. Such pleadings have been found

adequate to defeat similar motions for dismissal in other cases in this jurisdiction. This claim has

survived a number of similar motions to dismiss in this jurisdiction. See, e.g., Cobbler Nevada v.

Hamilton, 16-cv-1616TSZ Dkt. 84 (July 28, 2016); QOTD Film v. Does, 16-cv-371RSL Dkt. 70

(October 11, 2016); Criminal Prod. v. Winter, 16-cv-1647RAJ Dkt. 36 (June 29, 2017); Cook

Prod. v. Swanicke, 16-cv-1884TSZ Dkt. 68) (August 24, 2017); Criminal Prod. v. Does,

17-cv-102RAJ (January 8, 2018).



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 10
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 15 of 27




           Noteworthy is Criminal Prod. case 16-cv-1647—which is based on due diligence and

pleadings comparable to those in the present case. In Criminal Prod., the Court specifically

addressed the same Twombly/Iqbal standard and distinguished an earlier case in this jurisdiction

in denying a similar motion for dismissal. (Criminal Prod., Dkt. 36, pp. 3-4; see also QOTD Film,

Dkt. 70, pp. 3-4) Plaintiff respectfully submits that as in Criminal Prod. and earlier cases, it has in

this case pled sufficient facts—which much be taken as true—to support its allegations and meet

the threshold requirement to defeat dismissal. Accordingly, Plaintiff respectfully submits that its

amended complaint “contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face[.]’” Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570).

           It is unclear what further, if anything, beyond the assertions of the pleadings the Court may

be referencing when it requests Plaintiff to further show cause why its claims should not be

dismissed for “failure to state a cognizable claim.” After outlining its copyright infringement

claims, including a detailed description of the technology used for the infringement (see Dkt. 11.

¶¶ 27-39), Plaintiff specifically identified Defendant by name and address as the party which,

“based on the investigation to date, and on information and belief,” was the responsible party.

(Id. ¶¶ 17, 18-23) The Twombly/Iqbal standard for notice pleading requires nothing more.

C.         THE COURT’S OTHER CONCERNS ARE BASED ON INACCURACIES AND
           UNSUPPORTED ASSERTIONS
           The Court raised additional concerns that appear to originate from online BitTorrent

advocacy blogs and defense-counsel letters raising a myriad of defenses to Plaintiff’s claims.

However, none of these defenses have merit, and many have already been debunked by numerous

courts around the country, as discussed below.

           Plaintiff is concerned that, insofar as the basis for the show case order may be found in

websites and letters that are not part of the record in this case, and which are not under oath and

cannot be squarely confronted in this response, that its Due Process rights may be violated. While

Plaintiff believes it can fully satisfy the Court with the present submission, in the event the Court



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 11
INIP-6-0088P18 RESPSC
               Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 16 of 27




finds support in any of the materials cited in its Order (such as the letter of Christopher Lynch, or

content on a website), Plaintiff requests the opportunity to conduct discovery into such assertions

in order to defend itself. Specifically, Plaintiff and its counsel request the opportunity for third-

party discovery of the purveyors of the cited online sources, as well as Mr. Lynch, whose

unsubstantiated letter containing accusations in the Collins case appear to form the basis for much

of the Court’s criticisms.2 If any remedy is to be imposed that in any way relies on these sources,

Plaintiff’s due process rights surely demand that it be given the opportunity to know and confront

its accusers in this regard, and to thereby prove that none of them have any evidence (let alone

reliable, credible, and admissible evidence) to support their assertions.

           1.           No Ethical Issues are Implicated by Plaintiff’s Investigations; Plaintiff’s Data
                        Providers are Not Subject to the Licensing Requirements of RCW 18.165, and
                        Committed no Crime

           As explained in detail below, given that (1) on its face, RCW 18.165.150 does not apply to

Plaintiff’s investigators because that they are not located in Washington and do not conduct any

private investigation in Washington; (2) Plaintiff’s investigators easily fall within an exception of

the statute; and (3) courts around the country have long rejected this argument—saying it “borders

on the frivolous”—Plaintiff’s counsel reasonably believed at the time—and continues to believe

to date—that no Court would give weight to the frivolous claim that its investigators committed a

crime, and that disclosure would not be required because it was not in any way material.

           Plaintiff has further confirmed through independent assessment by an ethics professional

that its actions do not constitute any impropriety or violate any ethical or other duty to the Court

or the bar. (Hricik Dec. ¶¶ 2, 4-19) Professor Hricik unequivocally concluded that there was no

ethical violation:


           2
           The Court appears to rely on its own ex parte investigations, as well as give credence to unsubstantiated
assertions posted on various websites or in defense counsel letters in unrelated cases. Plaintiff submits that such
judicial fact-finding runs contrary to the mission of independent judiciary. See Declaration of Professor David Hricik,
submitted herewith, n. 1.



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 12
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 17 of 27




           Perhaps more importantly, if a reasonable lawyer would believe that the statute did
           not reach Mr. Arheidt’s activities in Germany, then Mr. Lowe did not breach any
           duty of candor. This is because the comment to Washington Rule 3.3(f) states: ‘The
           lawyer for the represented party has the correlative duty to make disclosures of
           material facts known to the lawyer and that the lawyer reasonably believes are
           necessary to an informed decision.’ (Emph. added.). No court should encourage
           lawyers to load up a record with irrelevant information, because that could bury the
           important facts and be inefficient.

           In my opinion, a reasonable lawyer would not believe that the statute reached
           Mr. Arheidt’s activities in Germany. . . .

(Id. ¶¶ 11-12).

Plaintiff’s Investigations Do Not Occur in Washington

           There can be no possibility of a violation of the Washington investigator statute because

the investigations do not occur in Washington. Neither GuardaLey Ltd. (“GuardaLey”), the data

provider; MaverickEye, UG (“MEU”), the licensee of the infringement detection system; nor

Daniel Arheidt, the consultant and “investigator” regarding the IP address and related

infringement, are subject to the licensing requirements of Revised Code of Washington Chapter

18.165. RCW 18.165.150 prohibits unlicensed investigation by “any person who performs the

functions and duties of a private investigator in this state without being licensed.” (emphasis

added) GuardaLey and MEU are German companies, and neither it nor MEU is a company

organized, existing, located or operating in Washington State. They have no employees or agents

in Washington. They conduct no business in Washington. They pay no taxes in Washington. Their

servers do not detect or record evidence of infringement in Washington State. Indeed, their servers

and all employees or consultants are located in Germany and thus the analysis is conducted in

Germany. Mr. Arheidt lives and works in Germany, and has never performed any of his services

in Washington State. (See Dkt. 29 ¶¶ 3, 5; Supp. Perino Dec. ¶¶ 16-17, 24; Arheidt Dec. ¶¶ 6-18,

20)

           After exhaustively researching this issue, Plaintiff was unable to locate a single case

supporting the proposition that a person located outside the state, who conducts online research




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 13
INIP-6-0088P18 RESPSC
               Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 18 of 27




and investigation outside the state, is violating RCW 18.165.150. Even if GuardaLay, MEU or

Mr. Arheidt resided in Washington or performed investigation of the IP addresses in

Washington—which they do not—they would likely fall within one or more exemptions provided

by RCW 18.165.020, e.g., (10) “A person who is a forensic scientist, accident reconstructionist,

or other person who performs similar functions and does not hold himself or herself out to be

an investigator in any other capacity.” (emphasis added).3

Plaintiff’s Investigations Occur in Public Forums with No Expectation of Privacy

           Further, RCW 18.165.150 cannot possibly apply to MEU’s detection and collection of

infringement evidence because RCW 18.165.020 provides that the private investigator licensure

requirement does not apply to “[a] person solely engaged in the business of securing information

about persons or property from public records[.]” The Court’s order uses the term “surveillance,”

suggesting that Plaintiff’s investigator has somehow reached into or looks into the computers of

Washington residents, but that is inaccurate. Plaintiff’s investigators do not access any of the

Defendants’ computers in any way, and do not plant software on them, look into them, or “surveil”

them in any manner. Rather, and consistent with the RCW, the information that MEU collected

was readily accessible to the general public because it is sent out into the public by the Defendants

themselves.

           MEU’s infringement detection system enters public BitTorrent swarms just as any regular

BitTorrent user would. The swarm contains multiple BitTorrent users who are all downloading

and uploading the same work between and among themselves. MEU’s system then receives

information from a computer connected to the Internet from a defendant’s IP address and which

transmits the data directly to MEU’s server. All of these steps are taken in the ordinary and normal

course of using a BitTorrent protocol. The only difference between a BitTorrent user and MEU is


           3
           The statute defines “forensic scientist” or “accident reconstructionalist” to mean “a person engaged
exclusively in collecting and analyzing physical evidence and data relating to an accident or other matter and
compiling such evidence or data to render an opinion of likely cause, fault, or circumstance of the accident or
matter.” (emphasis added)



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 14
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 19 of 27




that instead of using a regular publicly available BitTorrent client to accomplish these steps, MEU

uses a specialized client which was developed so that MEU cannot redistribute content it receives

back into the BitTorrent swarm. MEU simply made a record of each transaction in which each

defendant’s computers voluntarily sent pieces of data (here, pieces of Plaintiff’s motion picture)

to MEU. Thus, in summary, defendants voluntarily send their IP address identifying information

out into the public through the swarm, and Plaintiff does not reach into the defendant’s computer

to retrieve it. The IP address information is transmitted as part of the metadata relayed between

computers during a TCP/IP connection. Similarly, Plaintiff’s “Additional Evidence,” which shows

a detailed download history of other third-party works emanating from a Defendant’s IP address,

is information that is also publicly available. As such, Plaintiff falls within the exception listed.

(See Supp. Perino Dec. ¶¶ 24-25; Declaration of Stephen M. Bunting, ¶ 44) Accordingly, no

violation of Washington laws occurred.

Relevant Legal Authority Confirms No Violation of Private Investigator Statutes

           Plaintiff and its counsel are not aware of any authority in support of the applicability of the

Washington statute in this case. However, BitTorrent defense groups, in their advocacy blogs, have

long asserted that similar statutes in other states have been violated by investigators, even though

these very arguments have been rejected by a number of courts around the country (and, indeed,

every court Plaintiff is aware of that has considered the question). Among the earliest cases was

Capital Records, Inc. v. Thomas-Rasset, 2009 U.S. Dist. LEXIS 50075 (D. Minn. June 11, 2009).

The case involved MediaSentry, which utilized software to investigate and identify BitTorrent

(peer-to-peer) infringement involving copyrighted musical recordings. Defendants argued that

MediaSentry violated the Minnesota Private Detective Act, which precluded investigation in the

state without a license, and defined investigation to include “obtaining through investigation

evidence to be used before any authorized investigating committee, board of award, board of

arbitration, administrative body, or officer or in preparation for trial of civil or criminal cases.” Id.

at *4. Defendant asserted that MediaSentry improperly “investigated the identity of the user of the



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 15
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 20 of 27




computer from which it downloaded the songs at issue in this lawsuit and when it obtained

evidence of the copyrighted songs on Defendant’s computer.” Id. at *5. The court concluded that

MediaSentry was not subject to the Minnesota Private Detective Act, for several reasons,

including:

           MediaSentry does not operate within Minnesota. It has no employees in Minnesota
           and does not conduct any activities in Minnesota. It pays no taxes in the state and
           has no agent for service of process here. MediaSentry conducted no activity in
           Minnesota relating to this case, and all of the information it received was sent by
           Defendant from her computer to MediaSentry’s computer in a state other than
           Minnesota. Merely monitoring incoming internet traffic sent from a computer in
           another state is insufficient to constitute engaging in the business of private
           detective within the state of Minnesota.

(Id. at *6, internal citations omitted) Other courts have agreed, finding that the fact that

(1) investigators were located outside the state, and (2) investigations occurred outside the state,

meaning that the statutes did not apply.

           In Arista Records LLC v. Does 1-27, 584 F. Supp. 2d 240, 257 n. 21 (D. Maine Oct 29,

2008), for example, the Court declines to prohibit testimony from a foreign investigator in a

copyright infringement case again involving peer-to-peer infringement. Noteworthy, the court

declined to decide whether the statute applied to Internet searches of the type undertaken, the court

explained how online investigation was different in character from a typical in-state investigator,

whose investigators occur online from locations geographically remove from the state, and how it
“cannot be correct” that it requires a private investigation (what would be subject to such license

requirement) to “determine that the University of Maine is the Doe Defendants’ ISP, that some

persons using that ISP are perhaps using online media distribution systems, such as Gnutella, and

that a peer-to-peer file sharing network allows users to reproduce and distribute copyrighted works

anonymously.” Id. at 257; accord Malibu Media, LLC v. Doe, 2014 U.S. Dist. LEXIS 38718, *8-9

(N.D. Ill. Mar 24, 2014) (refusing to quash a discovery subpoena based on defendants’ claim that

the BitTorrent investigator was unlicensed).




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 16
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 21 of 27




           Most recently, when the same “foreign investigator” defense was recycled again in a

California BitTorrent case directly analogous to the cases at bar, the court pulled no punches in

characterizing this argument as “border[ing] on the frivolous:”

           Defendant further suggests that Mr. Fieser is not licensed as a private investigator
           in California, and that the court therefore should not accept his testimony. That
           argument borders on the frivolous. Individuals provide evidence in court every
           day without necessarily being licensed as private investigators. Significantly,
           defendant cites no legal authority for the proposition that Mr. Fieser, a German
           resident, required a California private investigator license to perform the type of
           work he did for plaintiff, or to provide evidence regarding such work in court.

Malibu Media, LLC v. Doe, 2017 U.S. Dist. LEXIS 30632 (E.D.Ca. Mar 3, 2017) (emphasis

added). In short, Plaintiff has not located a single case in which out-of-state investigators engaging

in BitTorrent analysis have been found to violate any criminal statute of the type at issue here.

           Plaintiff appreciates the proposition that the use of an investigator who committed a crime

in the course of the investigation should be disclosed in an ex parte proceeding. But as explained

in detail above, if no reasonable attorney would expect that the assertion is material, and where the

assertion is so baseless that it has been characterized as frivolous by other courts, Plaintiff did not

need to advise the Court here of such unfounded and frivolous accusations. Accordingly, the

investigators did not violate any Washington laws, and Plaintiff and its counsel did not violate any

Rules of Professional Conduct.

           2.           Plaintiff’s Investigators are Not “aliases or even fictitious”

           The Court expressed concern that the German investigators that have been used by various

plaintiffs in different BitTorrent cases in different jurisdictions over the last decade “might be

aliases or even fictitious.” The Plaintiff and undersigned counsel appreciate the desire of the Court

to ensure that this proposition is not true, but at the same time it is disheartening that the Court

could believe that they would even remotely consider such practices. Not only are each of the

individuals listed above real people, many have actually testified in depositions and federal court

evidentiary hearings in the United States or other jurisdictions. This assertion, as with others



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 17
INIP-6-0088P18 RESPSC
               Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 22 of 27




addressed above, underscores the problems inherent in relying on evidence not submitted to the

court under oath, and which has not been challenged through depositions or other discovery

techniques.

           The source relied upon by the Court refers to certain persons by name, speculating that

they are aliases or do not exist. While none of the referenced individuals other than Daniel Arheidt

are relevant to the cases captioned here, and apart from Mr. Arheidt and Daniel Macek, none have

been used by Plaintiff or its counsel, to assure the Court there is no merit to the numerous

conspiracy theories, undersigned counsel has undertaken to locate and provide proof that Daniel

Arheidt, Darren Griffin, Daniel Macek, Daniel Susac, Tobias Fieser and Michael Patzer are not

aliases or fictitious individuals. The submitted Arheidt Declaration speaks directly to his name,

background and existence, as well as his relationship to the other individuals, where applicable.4

With respect to the remaining individuals, the submitted Lowe Declaration compiles and explains

the documents and other information confirming to the extent reasonable and possible under the

circumstances their name, existence and relationship to each other, which includes confirmation

of governmental identification, transcript excerpts from testimony provided in other cases, and a

detailed explanation of each individual’s relationship (or former relationship) with GuardaLey,

MEU or any other companies which Plaintiff knows of or which they have worked with in the

past. (Lowe Dec. ¶¶ 2-18; see also Supp. Perino Dec. ¶¶ 12-22)

           3.           Technology Used in BitTorrent Copyright cases is Reliable and verified by
                        Experts and Other Courts

           Since the details of the MEU infringement detection system are technical, Plaintiff refers to the

expert report of Benjamin Perino, Chief Executive Officer and Senior Developer at GuardaLey, which

licenses the backend software and servers to MEU. (Dkt. 29) Mr. Perino’s report (1) provides his

credentials (¶¶ 1-13), (2) describes the technology in great detail (¶¶ 14-25), and (3) explains that the



           4
               This is specifically in response to the Court’s request at Dkt. 32, n. 2.



PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 18
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 23 of 27




TCP/IP connections cannot be “spoofed” or yield false positive results (¶¶ 26-37) generally and as

applied in these cases. (Id.)

           The Court criticized Mr. Perino’s qualifications as consisting of a “technical high school

education and work experience unrelated to the peer-to-peer file-sharing technology known as

BitTorrent[.]” Pursuant to Fed. R. Evid. 702, a witness is qualified as an expert by “knowledge, skill,

experience, training, or education.” Mr. Perino’s report establishes that he possessed years of specialized

experience in the Information Technology industry and, specifically, has spent the last 10 years

developing anti-piracy technology for use in the BitTorrent network. To the extent this was not made

clear in Mr. Perino’s report, Plaintiff submits a supplemental declaration of Mr. Perino that further

confirms that his extensive work experience may qualifies him as an expert in BitTorrent and peer-to-

peer technology. Additionally, as stated in his report, Mr. Perino has been subpoenaed to testify either at

deposition or trial on this specific BitTorrent technology. Of those listed, he has in fact testified as an

expert in these cases. (Supp. Perino Dec. ¶¶ 4-11)

           Respectfully, the Court appears to have inadvertently overlooked the declarations of two

independent experts, Dr. Simone Richter and Mr. Robert D. Young, who evaluated the infringement

detection system. (Dkt. 29-1, Exs. E & F) These experts further confirm the accuracy of the system.

Understanding that this Court and numerous defense counsel struggled with an understanding of MEU’s

and similar technology and its international experts and witnesses, Plaintiff has secured another technical

expert, Stephen M. Bunting of Lewes, Delaware, to thoroughly evaluate the system. Mr. Bunting has

recently provided an expert report describing his test of the GuardaLey/MEU infringement detection

system. Mr. Bunting’s report confirms that the system accurately detects and records IP addresses

transacting within the BitTorrent network. His report also confirms that Mr. Perino’s expert report

accurately describes what the infringement detection system does, and its effectiveness and accuracy.

Mr. Bunting’s report provides a fourth expert witness—along with that of Mr. Perino, Dr. Richter and

Mr. Young. (Bunting Dec. ¶¶ 1-46)




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 19
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 24 of 27




           4.           MEU’S Technology Does Not Yield False Positives nor Does It Employ
                        Hacking or Spoofing of the IP Addresses

           The Court challenges Mr. Perino’s initial assessment that the infringement detection system

“cannot yield a false positive” because Mr. Perino “does not have the qualifications necessary to be

considered an expert in the field in question” and “his opinion . . . is both contrary to common sense and

inconsistent with plaintiff’s counsel’s conduct in other matters in this district.” Plaintiff respectfully
submits that these propositions are in error.

           As explained above, Mr. Perino is fully qualified as an expert pursuant to Fed. R. Evid. 702 as a

person with “knowledge, skill, experience, training, or education”—regardless of his level of formal

education. (Dkt. 29, ¶¶ 3-11; see also Supp. Perino Dec. ¶¶ 4-11) While critical of his “education,” the

Court provides no support for its conclusion that Mr. Perino’s “knowledge, skill, experience, training”

fail to quality him as an expert for this purpose. Moreover, as noted, Mr. Perino’s opinions on the

technology he developed have been further confirmed by no fewer than three independent experts.

           The Court concludes, without more, that Mr. Perino’s opinion regarding false positives is

“contrary to common sense.” It is unclear what the Court is relying on in reaching this conclusion, and

Plaintiff submits this is not a matter of judicial notice. Though there may be ways for individuals to hide

or mask their IP addresses in some settings, and perhaps the Court is aware of such concepts, they have

no applicability here. As explained in detail in Mr. Perino’s report, the reason there are no false positive

errors is because the infringement detection system makes a direct TCP/IP connection or “handshake”

with the IP address and port where the infringement occurred to confirm the transaction. See also the

expert report of Dr. Richter, which also addresses this issue and supports Mr. Perino’s conclusion.

(Dkt. 29-1 at 11.4-11.14, 11.19-11.22, 11.26-11.30) This has been yet further confirmed in the Bunting

report. (Bunting Dec. ¶¶ 38-43)

           This “false positive” issue is yet another old argument recycled by BitTorrent infringement

blogs and advocates despite being disproven, and has been addressed by expert testimony in

analogous cases. For example, an industry expert Michael Patzer provided extensive testimony




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 20
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 25 of 27




before the Honorable Judge Steven I. Locke in the Eastern District of New York on April 20, 2016

in Malibu Media, LLC v. John Doe Subscriber Assigned IP Address 98.116.160.61, Case No. 15-

cv-3504, Dkt. 34-1 (E.D. NY June 3, 2016). Mr. Patzer’s testimony pertained to the analogous

investigative software used by Excipio addressing the “false positive” issue raised by this Court.

Mr. Patzer specifically distinguished the modern investigative technology used by Excipio (and

MEU) that uses direct monitoring from the indirect detection technology historically used and

often referenced by defense counsel. (See Lowe Ex. B, pp. 30-48, in particular pp. 39-45)

           Finally, the fact that plaintiffs have elected to dismiss its claims in other cases is not an indication

that “false positive” errors have occurred. In this jurisdiction alone, plaintiff have voluntarily dismissed

many claims for various reasons. Often plaintiffs make a strategic determination—as is often done in

virtually any type of litigation—that the particular case is not worth pursuing at that time. For example,

a plaintiff may dismiss a case if the ISP subpoena response establishes that the Defendant is actively

serving in the military, or if the Defendant is experiencing financial or physical hardship, or if Defendant

is a company and locating the infringer would be too costly or burdensome on Plaintiff.

           The Court points to a series of letters from Mr. Lynch on behalf of clients whose claims were

dismissed after his submission of the letter as proof of a “false positive” result with MEU’s infringement

detection system. But dismissals in these and other such cases had nothing to do with the veracity of the

technology. Plaintiff reviewed each case listed in the Court’s Order, and was able to determine that none

of the respective defendants had been dismissed because of a “false positive” result or other data problem.

The data in each case listed confirms that the infringement occurred at the household via the noted IP

address at the date and time indicated. To the best of their recollection, Plaintiff’s counsel has never

dismissed a case because of a “false positive.” This is because no Defendant has ever presented evidence

of a “false positive” error. As explained by one court, it would be a “disingenuous” argument to jump to

the conclusion that dismissing a case necessarily suggests that a plaintiff identified the wrong defendant.

Malibu Media, LLC v. Doe, 2017 U.S. Dist. LEXIS 30632, *9 n.4 (E.D. Cal. March 3, 2017).




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 21
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 26 of 27




           Instead, as explained above, a case against an individual defendant may be dismissed because

the particular case is simply not worth pursuing at that time. With tens of thousands of BitTorrent

copyright infringers nationwide, it has always been necessary for plaintiffs to focus on only a segment of

the infringement claims available in their efforts at education and deterrence. The Lynch letter in

particular raised a myriad of factual and legal arguments that seem disconcerting taken alone but which

can be wholly disproven. Earlier in these cases plaintiffs made the decision that undertaking the

significant legal work to debunk such arguments would not be an efficient use of judicial resources. More

recently, however, in consideration of the possibility that the Court or others might take the dismissal as

a tacit concession that anything in the letters was true, Plaintiff no longer dismisses any cases based on

such flawed and false allegations, and instead refutes them directly. Plaintiff’s responses to the two show

cause orders in this case, as well as the response in Cobbler v. James, Case No. 15-cv-1430TSZ, are

prime examples.

           Plaintiff respectfully submits that it has more than met the requirements under law and applicable

rules to proceed with its cases. Plaintiff’s copyrights have not been credibly challenged, it more than

states a plausible claim against defendants, and is entitled to enforce its federal copyrights. Indeed, the

courts exists precisely for this purpose.

RESPECTFULLY SUBMITTED February 5, 2018.
                                                       s/David A. Lowe, WSBA No. 24,453
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PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 22
INIP-6-0088P18 RESPSC
             Case 2:17-cv-00988-TSZ Document 33 Filed 02/05/18 Page 27 of 27




                                         CERTIFICATE OF SERVICE

                        The undersigned hereby certifies that a true and correct copy of the
                        foregoing document has been served to all counsel or parties of
                        record who are deemed to have consented to electronic service via
                        the Court’s CM/ECF system, and to all Defendants at their last
                        known address via U.S. mail.

                                                                          s/ David A. Lowe




PLAINTIFF’S RESPONSE TO SHOW CAUSE
ORDER - 23
INIP-6-0088P18 RESPSC
